    Case 1:25-cv-00872-JMC         Document 22-1        Filed 06/11/25   Page 1 of 48




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


COALITION FOR HUMANE IMMIGRANT RIGHTS,
et al.,

    Plaintiffs,

    v.                                                        Case No.: 1:25-cv-0872

KRISTI NOEM, in her official capacity as Secretary of
Homeland Security, et al.,

    Defendants.



PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR A STAY OF
  AGENCY ACTION UNDER 5 U.S.C. § 705 TO PRESERVE STATUS AND RIGHTS
        Case 1:25-cv-00872-JMC                        Document 22-1                Filed 06/11/25              Page 2 of 48




                                                  TABLE OF CONTENTS
                                                                                                                                    Page
INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 4

LEGAL STANDARD ..................................................................................................................... 9

ARGUMENT ................................................................................................................................ 10

I.        PLAINTIFFS HAVE STANDING, THIS COURT HAS JURISDICTION, AND
          DEFENDANTS’ ACTIONS ARE REVIEWABLE. ......................................................... 11

II.       PLAINTIFFS ARE LIKELY TO SUCCEED IN PROVING THAT THE
          AGENCY ACTIONS ARE CONTRARY TO LAW AND VIOLATE THE
          AGENCY’S OWN PROCEDURES. ................................................................................ 14

III.      PLAINTIFFS ARE ALSO LIKELY TO SUCCEED IN PROVING THAT THE
          AGENCY ACTIONS ARE ARBITRARY AND CAPRICIOUS ..................................... 21

IV.       A STAY IS NECESSARY TO STOP ONGOING AND FUTURE
          IRREPARABLE INJURY................................................................................................. 28

V.        THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST STRONGLY
          FAVOR PLAINTIFFS....................................................................................................... 36

CONCLUSION ............................................................................................................................. 38




                                                                     i
        Case 1:25-cv-00872-JMC                       Document 22-1                 Filed 06/11/25             Page 3 of 48




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

A.B.-B. v. Morgan,
   548 F. Supp. 3d 209 (D.D.C. 2020) .........................................................................................37

Al Otro Lado v. McAleenan,
    394 F. Supp. 3d 1168 (S.D. Cal. 2019) ....................................................................................19

Al-Marri v. Bush,
   No. Civ.A.04-2035 (GK), 2005 WL 774843 (D.D.C. Apr. 4, 2005).......................................35

Bennett v. Spear,
   520 U.S. 154 (1997) .................................................................................................................13

Bollat Vasquez v. Wolf,
   460 F. Supp. 3d 99 (D. Mass. 2020) ........................................................................................20

Burlington Truck Lines, Inc. v. United States,
   371 U.S. 156 (1962) .................................................................................................................26

Cherokee Nation v. Dep’t of Interior,
   Case No. 1:19-cv-02154 (TNM) 2024 WL 4286048 (D.D.C. Sept. 25, 2024) .......................19

Citizens to Preserve Overton Park, Inc. v. Volpe,
    401 U.S. 402 (1971) .................................................................................................................21

D.C. v. U.S. Dep’t of Agric.,
   444 F. Supp. 3d 1 (D.D.C. 2000) ...............................................................................................9

Dep’t of Com. v. New York,
   588 U.S. 752 (2019) ................................................................................................................21

DHS v. Regents of the Univ. of Cal.,
  591 U.S. 1 (2020) .....................................................................................................................26

Doe v. Noem,
   No. 1:25-cv-10495 IT, 2025 WL 1099602 (D. Mass. Apr. 14, 2025) ...........................5, 15, 27

Encino Motor Cars, LLC v. Navarro,
   579 U.S. 211 (2016) .....................................................................................................23, 25, 26

F.C.C. v. Fox Television Stations, Inc.,
   556 U.S. 502 (2009) .................................................................................................................28


                                                                    ii
        Case 1:25-cv-00872-JMC                       Document 22-1                Filed 06/11/25             Page 4 of 48




Grace v. Barr,
   965 F.3d 883 (D.C. Cir. 2020) ...............................................................................13, 16, 26, 27

Grace v. Whitaker,
   344 F. Supp. 3d 96 (D.D.C. 2018) ...........................................................................................13

Pursuing Am.’s Greatness v. Fed. Election Comm’n,
   831 F.3d 500 (D.C. Cir. 2016) .................................................................................................10

Hispanic Affs. Project v. Perez,
   319 F.R.D. 3 (D.D.C. 2016).....................................................................................................12

Hurry v. Fed. Deposit Ins. Corp.,
   589 F.Supp.3d 100 (D.D.C. 2022) ...........................................................................................20

Judulang v. Holder,
   565 U.S. 42 (2011) .......................................................................................................21, 22, 26

Kiakombua v. Wolf,
   498 F. Supp. 3d 1 (D.D.C. 2020) .............................................................................................13

Kucana v. Holder,
   558 U.S. 233 (2010) ...........................................................................................................16, 27

Las Americas Immigrant Advoc. Ctr. v. Wolf,
   507 F. Supp. 3d 1 (D.D.C. 2020) .............................................................................................13

Loper Bright Enters. v. Raimondo,
   603 U.S. 369 (2024) .................................................................................................................14

Lujan v. Nat’l Wildlife Fed’n,
   497 U.S. 871 (1990) .................................................................................................................13

Mach Mining, LLC v. EEOC,
  575 U.S. 480 (2015) .................................................................................................................16

Make the Rd. N.Y. v. Wolf,
  962 F.3d 612 (D.C. Cir. 2020) ...........................................................................................11, 12

Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,
   567 U.S. 209 (2012) .................................................................................................................12

Motor Vehicle Mfr. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983) .......................................................................................................21, 22, 26

NAACP v. Trump,
  298 F. Supp 3d 209 (D.D.C. 2018) ..........................................................................................12




                                                                   iii
        Case 1:25-cv-00872-JMC                          Document 22-1                  Filed 06/11/25               Page 5 of 48




Nat’l Ass’n of Broadcasters v. F.C.C.,
   740 F.2d 1190 (D.C.z Cir. 1984) .............................................................................................25

Nat’l Ass’n of Mfrs. v. Dep’t of Def.,
   583 U.S. 109 (2018) ...........................................................................................................15, 20

Nken v. Holder,
   556 U.S. 418 (2009) ...........................................................................................................36, 37

Pol’y & Rsch., LLC v. U.S. Dep’t of Health & Hum. Servs.,
   313 F. Supp. 3d 62 (D.D.C. 2018) .....................................................................................21, 22

Sanchez v. Mayorkas,
   593 U.S. 409 (2021) .................................................................................................................18

SEC v. Chenery Corp.,
   318 U.S. 80 (1943) ...................................................................................................................14

SEC v. Chenery Corp.,
   332 U.S. 194 (1947) .................................................................................................................22

Shawnee Tribe v. Mnuchin,
   984 F.3d 94 (D.C. Cir. 2021) ...................................................................................................37

Shvartser v. Lekser,
   308 F. Supp. 3d 260 (D.D.C. 2018) .........................................................................................36

United States ex. rel. Accardi v. Shaughnessy,
   347 U.S. 260 (1954) .................................................................................................................18

United States v. Wilson,
   503 U.S. 329 (1992) .................................................................................................................19

Winter v. Nat. Res. Def. Council, Inc.,
   555 U.S. 7 (2008) ...............................................................................................................10, 36

Statutes

5 U.S.C.
   § 704.........................................................................................................................................13
   § 705.............................................................................................................................1, 4, 9, 10
   § 706.........................................................................................................................................14
   § 706(2)(A) ..............................................................................................................................21

8 U.S.C.
   § 1182(a)(6)(C) ....................................................................................................................4, 14
   § 1182(a)(7) .........................................................................................................................4, 14
   § 1182(a)(9)(A)(i) ....................................................................................................................35


                                                                        iv
        Case 1:25-cv-00872-JMC                           Document 22-1                  Filed 06/11/25               Page 6 of 48




     § 1225(a)(1) .............................................................................................................................20
     § 1225(b)(1) .............................................................................................................................10
     § 1225(b)(1)(A) ..................................................................................................................14, 19
     § 1225(b)(1)(A)(i) ....................................................................................4, 5, 14, 19, 20, 24, 25
     § 1225(b)(1)(A)(iii) .......................................................................................................... passim
     § 1225(b)(1)(A)(iii)(II) ..........................................................................................17, 18, 23, 24
     § 1229a .....................................................................................................................................29
     § 1229a(a)(3) ..............................................................................................................................4
     § 1252(e)(3) .................................................................................................................12, 13, 16
     § 1252(e)(3)(B) ........................................................................................................................13

Other Authorities

8 C.F.R.
   § 212.2......................................................................................................................................35
   § 235.3(b)(1) ................................................................................................................10, 17, 18
   § § 235.3(b)(6) ...................................................................................................................17, 18

62 Fed. Reg.
   444-01 ......................................................................................................................................17
   480............................................................................................................................................17
   10312........................................................................................................................................17
   10314........................................................................................................................................17

90 Fed. Reg.
   8139................................................................................................................................6, 14, 24
   13,611...................................................................................................................................5, 13
   13,619...................................................................................................................................7, 15
   13,620.........................................................................................................................................7

ACLU, Freezing Out Justice: How Immigration Arrests at Courthouses are
  Undermining the Justice System (2018), https://www.aclu.org/wp-
  content/uploads/publications/rep18-icecourthouse-combined-rel01.pdf .................................38

Anna Giaritelli, Stephen Miller ‘eviscerated’ ICE officials in private meeting for
   low deportation numbers, Wash. Exam’r, May 30, 2025,
   https://www.washingtonexaminer.com/news/white-house/3425297/stephen-
   miller-eviscerated-ice-officials-deportation-numbers/ ..............................................................2

Brittany Gibson & Stef W. Knight, Scoop: Stephen Miller, Noem tell ICE to
    supercharge immigrant arrests, Axios (May 28, 2025),
    https://www.axios.com/2025/05/28/immigration-ice-deportations-stephen-
    miller ..................................................................................................................................2, 7, 8

David J. Bier, 126 Parole Orders over 7 Decades: A Historical Review of
   Immigration Parole Orders, Cato Institute (July 17, 2023),
   https://www.cato.org/blog/126-parole-orders-over-7-decades-historical-
   review-immigration-parole-orders .........................................................................................5, 6


                                                                         v
        Case 1:25-cv-00872-JMC                           Document 22-1                  Filed 06/11/25               Page 7 of 48




DHS, Memorandum from Acting Secretary Benjamine C. Huffman on Guidance
  Regarding How to Exercise Enforcement Discretion (Jan. 23, 2025),
  https://www.dhs.gov/sites/default/files/2025-01/25_0123_er-and-parole-
  guidance.pdf ...............................................................................................................................6

FWD.us, Industries with Critical Labor Shortages Added 1.1 Million Workers
  Through Immigration Parole (Jan. 4, 2024), www.fwd.us/news/immigration-
  labor-shortages .........................................................................................................................38

Hillel R. Smith, Cong. Rsch. Serv., R45314, Expedited Removal of Aliens: Legal
    Framework (2019), https://www.congress.gov/crs-product/R45314 ......................................19

Human Rights Watch,“You Don’t Have Rights Here” (Oct. 16, 2014),
  https://bit.ly/1GocBhZ .............................................................................................................33

Immigration and Public Safety
   (2017), https://www.sentencingproject.org/app/uploads/2022/10/Immigration-
   and-Public-Safety.pdf; .............................................................................................................38

Joshua Goodman & Gisela Salomon, ICE agents wait in hallways of immigration
   court as Trump seeks to deliver on mass arrest pledge, AP News (May 21,
   2025), https://apnews.com/article/immigration-courts-arrests-trump-ice-
   deportations-fa96435d4ec021cc8ff636b23d80d848..................................................................3

Michael Elsen-Rooney, A Bronx high schooler showed up for a routine
   immigration court date. ICE was waiting, Chalkbeat (May 26, 2025),
   https://www.chalkbeat.org/newyork/2025/05/27/bronx-high-school-student-
   detained-by-immigration-ice-agents/ .....................................................................................3, 9

Suzanne Gamboa, Immigration arrests in courthouses have become the new
   deportation tool, stripping migrants of a legal process, NBC News (May 30,
   2025), https://www.nbcnews.com/news/latino/immigrations-arrests-ice-
   deportations-courthouse-legal-process-ice-rcna209671 ............................................................8

Ted Hesson & Kristina Cooke, Trump weighs revoking legal status of Ukrainians
   as US steps up deportations, Reuters (March 6, 2025),
   https://www.reuters.com/world/us/trump-plans-revoke-legal-status-
   ukrainians-who-fled-us-sources-say-2025-03-06/ (citing “internal ICE email”
   available at
   https://fingfx.thomsonreuters.com/gfx/legaldocs/gkpljxxoqpb/ICE_email_Reu
   ters.pdf) ......................................................................................................................................7

The Sentencing Project, Immigration and Public Safety (2017),
   https://www.sentencingproject.org/app/uploads/2022/10/Immigration-and-
   Public-Safety.pdf; Ceres Policy Research, The Chilling Effect of ICE
   Courthouse Arrests (Oct. 2019),
   https://www.immigrantdefenseproject.org/wp-
   content/uploads/ice.report.exec_summ.5nov2019.pdf ............................................................38


                                                                        vi
        Case 1:25-cv-00872-JMC                       Document 22-1                Filed 06/11/25             Page 8 of 48




U.S. Comm’n on Int’l Religious Freedom, Report on Asylum Seekers in Expedited
   Removal: Volume I: Findings & Recommendations 4, 10 (2005),
   https://bit.ly/1GkjQfK ........................................................................................................31, 33

U.S. Comm’n on Int’l Religious Freedom, Barriers to Protection: The Treatment
   of Asylum Seekers in Expedited Removal (2016), https://bit.ly/2uydMQ8 ..............................31

U.S. Comm’n on Int’l Religious Freedom, Barriers to Protection as of 2024:
   Updated Recommendations on Asylum Seekers in Expedited Removal (2025),
   http://bit.ly/4kZ3EYv ...............................................................................................................31

U.S. Dep’t of Justice, EOIR, Memorandum from Acting Director Sirce E. Owen
   re reinstatement of Memorandum 19-13, PM 25-27 (Mar. 21, 2025),
   https://iptp-production.s3.amazonaws.com/media/documents/
   2025.03.21_EOIR_25-27_Cancellation_of_DM_23-
   01_and_Reinstatement_of_PM_19-13.pdf ..............................................................................30

U.S. Dep’t of Justice, EOIR, Memorandum from Director James R. McHenry III
   re use of status dockets, PM 19-13, at 1 (Aug. 16, 2019),
   https://www.justice.gov/eoir/page/file/1196336/dl..................................................................30




                                                                   vii
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 9 of 48




                                       INTRODUCTION

       Plaintiffs respectfully move for a stay under 5 U.S.C. § 705 of Defendants’ unlawful actions

to apply summary deportation proceedings to hundreds of thousands of people who entered the

country legally through humanitarian parole. The Immigration and Nationality Act (“INA”)

specifies only two narrow classes of noncitizens who may be subject to expedited removal—and

people who have been paroled into the United States are excluded from both classes. Defendants’

actions in seeking to remove parole beneficiaries from this country in summary fashion are as

inhumane as they are unlawful, threatening to inflict devastating harm on individuals who have

followed all the rules, came to this country lawfully, and have done everything that the government

has asked of them.

       On January 23, 2025, three days into the new administration, the Department of Homeland

Security (“DHS”) issued a memorandum directing and authorizing DHS agencies to use expedited

removal, a fast-track summary deportation authority, on any noncitizen “who is amenable,”

including by affirmatively taking “steps to terminate ongoing removal proceedings and/or any

active parole status” of individuals who had been granted parole into the United States at a port of

entry. Subsequent government directives and notices have reinforced this command to wield

expedited removal against these parolees.

       Plaintiffs brought this lawsuit to challenge DHS’s new policies exposing such paroled

noncitizens to expedited removal without legal authority, but until recently Plaintiffs were aware

of only a select few instances in which DHS was implementing these new policies to subject

parolees to expedited removal. A few weeks ago, this changed. Shortly after the White House’s

deputy chief of staff Stephen Miller demanded that Immigration and Customs Enforcement

(“ICE”) increase arrest and deportation numbers, setting an arrest quota of 3,000 people a day and




                                                 1
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 10 of 48




pressuring ICE to send officers to Home Depot and 7-Eleven to arrest individuals without regard

to their criminal history,1 the federal government began aggressively implementing its new

expedited removal policies on a widespread basis. In immigration courts across the country, DHS

began targeting individuals dutifully appearing for their court hearings by moving to dismiss their

cases—a necessary predicate step to instigate expedited removal proceedings—and then

immediately apprehending them and placing them in ICE detention. People who came to this

country lawfully on parole—many of whom have already applied for other, longer-term or more

permanent legal status—are now having their lives upended as they are abruptly torn from their

families and the lives they have begun building here.

       For example: E.F.S. is a husband and father who was paroled into the United States with

his wife and young son in 2024 after they came to an official port of entry with an appointment

made using DHS’s CBP One mobile application. Declaration of Andrew Freire (“Freire Decl.”), ¶

4. Like other individuals granted parole after securing a CBP One appointment, they were issued

a Notice to Appear (“NTA”) at the same time scheduling them for immigration proceedings. Id.

After being granted parole, E.F.S. and his family resided in California and began preparing their

application for asylum based on fear of returning to Honduras. Id. at ¶¶ 5, 9. On May 23, 2025,

nearly a year after they were granted parole and while their parole was still valid, they appeared at

the Los Angeles Immigration Court for their first master calendar hearing. That morning, they were

taken by surprise when the attorney for DHS moved to sever E.F.S.’s case from his wife and son’s

case and then moved to dismiss his case because they were planning to put E.F.S. in expedited



1
 Anna Giaritelli, Stephen Miller ‘eviscerated’ ICE officials in private meeting for low deportation
numbers, Wash. Exam’r, May 30, 2025, https://www.washingtonexaminer.com/news/white-
house/3425297/stephen-miller-eviscerated-ice-officials-deportation-numbers/; Brittany Gibson &
Stef W. Knight, Scoop: Stephen Miller, Noem tell ICE to supercharge immigrant arrests, Axios
(May 28, 2025), https://www.axios.com/2025/05/28/immigration-ice-deportations-stephen-miller.

                                                 2
     Case 1:25-cv-00872-JMC          Document 22-1         Filed 06/11/25     Page 11 of 48




removal. Id. at ¶ 6; Declaration of Lindsay Toczylowski (“Toczylowski Decl.”), ¶¶ 3-4. Despite

E.F.S.’s opposition, the immigration judge granted dismissal. Freire Decl., ¶ 6; Toczylowski Decl.,

¶ 5. When E.F.S. and his family then left the courtroom, six ICE officers descended and arrested

E.F.S. in front of his wife and young son. Toczylowski Decl., ¶ 6. As his son watched, in shock

and with tears in his eyes, the officers handcuffed E.F.S. and took him away. Id. E.F.S.’s attorney,

who met E.F.S.’s wife and son immediately after, stated that “they were terrified, confused, and

could barely speak to me,” as they “did not know when or how they would next communicate with

E.F.S.” Freire Decl., ¶ 11. Since then, E.F.S. has been detained at an immigration jail outside of

California, far from counsel and family, and faces the imminent threat of deportation back to a

country where he has been threatened with torture and death. Id. at ¶¶ 7-9.

       E.F.S.’s story is only one of countless examples of Defendants’ recent implementation of

their expedited removal policies around the country, which has been called, by reporters, a

“nationwide blitz” of ICE enforcement waiting outside courtrooms to detain noncitizens whose

cases have been dismissed on motion by ICE trial attorneys (or, in some cases, whose cases have

not even been dismissed yet).2 Plaintiffs’ members and other noncitizens who were granted parole


2
  Michael Elsen-Rooney, A Bronx high schooler showed up for a routine immigration court date.
ICE          was           waiting,        Chalkbeat           (May           26,        2025),
https://www.chalkbeat.org/newyork/2025/05/27/bronx-high-school-student-detained-by-
immigration-ice-agents/; Joshua Goodman & Gisela Salomon, ICE agents wait in hallways of
immigration court as Trump seeks to deliver on mass arrest pledge, AP News (May 21, 2025),
https://apnews.com/article/immigration-courts-arrests-trump-ice-deportations-
fa96435d4ec021cc8ff636b23d80d848; see generally Declaration of Angelica Salas (“Salas
Decl.”); Declaration of George Escobar (“Escobar Decl.”); Declaration of Patrice Lawrence
(“Lawrence Decl.”); Declaration of Melissa Chua (“Chua Decl.”); Declaration of Enrique
Espinoza (“Espinoza Decl.”); Freire Decl.; Declaration of Sarah Gillman (“Gillman Decl.”);
Declaration of Michael Hirman (“Hirman Decl.”); Declaration of Meghan DuPuis Maurus
(“Maurus Decl.”); Declaration of Cesar Montoya (“Montoya Decl.”); Declaration of Jessica Olive
(“Olive Decl.”); Declaration of Sabrina Perez-Arleo (“Perez-Arleo Decl.”); Declaration of Ming
Tanigawa-Lau (“Tanigawa-Lau Decl.”); Toczylowski Decl.; Declaration of Bianca Torres (“Torres
Decl.”).

                                                 3
     Case 1:25-cv-00872-JMC           Document 22-1         Filed 06/11/25      Page 12 of 48




into the U.S. have already been, and will continue to be, irreparably injured by Defendants’ actions.

And what makes Defendants’ conduct all the more outrageous is that it is blatantly illegal:

expedited removal cannot, by statute, be applied to individuals who have been paroled into the

country.

       The expedited removal process often moves extremely quickly. Unless this Court acts,

paroled noncitizens across the country like E.F.S. and members of the Plaintiff organizations will

continue to be rapidly and unlawfully deported—including back to countries where they are likely

to face persecution, violence, even death—without a meaningful opportunity to present claims for

immigration relief for which they are eligible, or to contest their eligibility for expedited removal.

Plaintiffs respectfully request that the court order a stay under 5 U.S.C. § 705 of Defendants’ recent

policies targeting for expedited removal noncitizens who were paroled into the United States.

                                         BACKGROUND

       Generally under the immigration laws, removal proceedings conducted in immigration

court—with various process rights including the right to retain counsel, the right to present

evidence, and the right to appellate review before the Board of Immigration Appeals and then the

federal courts—are the “sole and exclusive procedure” for determining whether a person should

be removed from the country. 8 U.S.C. § 1229a(a)(3).

       One exception to full removal proceedings is “expedited removal,” whereby certain

noncitizens determined by an immigration officer to be “inadmissible,” either because they

engaged in fraud in applying for admission, 8 U.S.C. § 1182(a)(6)(C), or lack the requisite

documents for entry, 8 U.S.C. § 1182(a)(7), may be ordered removed by that officer “without

further hearing or review.” 8 U.S.C. § 1225(b)(1)(A)(i). By statute, the use of expedited removal

is authorized only for those two grounds of inadmissibility and, further, can be applied to




                                                  4
     Case 1:25-cv-00872-JMC            Document 22-1        Filed 06/11/25       Page 13 of 48




noncitizens in only two circumstances: those “arriving in the United States” (e.g., at a port of entry)

and those who entered the United States who “ha[ve] not been admitted or paroled” (e.g., entered

without inspection) and have been present for less than two years. See 8 U.S.C. § 1225(b)(1)(A)(i),

(iii) (emphasis added). In other words, “[t]he statute does not subject persons who were authorized

to enter the United States”—either because they were admitted on a visa, or granted parole at a

port of entry—“to expedited removal, regardless of how long they have been in the United States.”

Doe v. Noem, No. 1:25-cv-10495 IT, 2025 WL 1099602, at *16 (D. Mass. Apr. 14, 2025).

       This suit concerns the Defendants’ unauthorized application of expedited removal to

individuals who are in the United States (i.e., are no longer in the act of “arriving”) after having

been “paroled” into the country. For over 70 years, the immigration laws have authorized

immigration officials to “parole” noncitizens into the country for a temporary period.3

Humanitarian parole has been a key component of immigration policy since the Eisenhower

administration used it to allow 30,000 Hungarians fleeing Soviet invasion to come to the United

States; parole has been used over 125 times by administrations of both parties to promote various

humanitarian, foreign policy, regional security, and migrant management objectives.4 In recent

years, the program has been used to assist 75,000 Afghan nationals following the takeover of the

Taliban, 200,000 Ukrainians following Russia’s invasion, approximately 500,000 Cubans,

Haitians, Nicaraguans, and Venezuelans following civil unrest in those countries, and in




3
  David J. Bier, 126 Parole Orders over 7 Decades: A Historical Review of Immigration Parole
Orders, Cato Institute (July 17, 2023), https://www.cato.org/blog/126-parole-orders-over-7-
decades-historical-review-immigration-parole-orders.
4
  Id.

                                                  5
        Case 1:25-cv-00872-JMC         Document 22-1        Filed 06/11/25      Page 14 of 48




conjunction with DHS’s CBP One mobile application as a tool to assist with migration

management at the Southern border.5

         Starting on January 21, 2025, Defendants took steps to dramatically expand the use of

expedited removal by taking the following actions:

    •    On January 21, 2025, Acting DHS Secretary Benjamine Huffman issued a designation

         expanding the scope of expedited removal to apply nationwide and to certain noncitizens

         who cannot prove to the satisfaction of an immigration enforcement officer that they have

         been here continuously for two years. Notice, U.S. Dep’t of Homeland Sec., Designating

         Aliens for Expedited Removal, 90 Fed. Reg. 8139 (Jan. 24, 2025).

    •    On January 23, 2025, Acting Secretary Huffman issued a memorandum directing DHS

         personnel to consider expanding the use of expedited removal to apply to “any alien DHS

         is aware of who is amenable to expedited removal but to whom expedited removal has not

         been applied,” including by terminating ongoing removal proceedings in immigration

         courts as well as active grants of parole (hereinafter the “January 23 Huffman

         Memorandum”).6

    •    On February 18, 2025, ICE leadership issued a directive to its Enforcement and Removal

         Operations personnel directing officers to consider removal for any “paroled arriving

         aliens” who had not affirmatively applied for asylum (hereinafter the “February 18 ICE

         Directive”). The directive provided additional guidance that “[t]here is no time limit on the

         ability to process such [individuals] for ER” and the issuance of an expedited removal


5
  Id; Notice, U.S. Dep’t of Homeland Sec., Termination of Parole Processes for Cubans, Haitians,
Nicaraguans, and Venezuelans, 90 Fed. Reg. 13,611 (Mar. 25, 2025).
6
  DHS, Memorandum from Acting Secretary Benjamine C. Huffman on Guidance Regarding How
to Exercise Enforcement Discretion (Jan. 23, 2025), https://www.dhs.gov/sites/default/files/2025-
01/25_0123_er-and-parole-guidance.pdf.

                                                  6
        Case 1:25-cv-00872-JMC          Document 22-1         Filed 06/11/25      Page 15 of 48




         charging documents would terminate the parole of an individual who is “on an active

         parole.”7

    •    On March 25, 2025, DHS published a Federal Register Notice terminating the Cuban,

         Haitian, Nicaraguan, and Venezuelan (“CHNV”) parole program and purporting to

         terminate en masse all valid grants of parole previously extended to CHNV nationals

         (hereinafter the “March 25 CHNV Termination Notice”). The Department explained in the

         Notice that it was terminating grants of parole early in order to be able to “initiate expedited

         removal proceedings to the maximum extent possible,” and that it “intends to prioritize for

         removal” individuals who had not filed an immigration benefit request by the publication

         date of the Notice, or who were not the beneficiary of an immigration benefit request filed

         by someone else on their behalf. 90 Fed. Reg. at 13,619, 13,620.

         Plaintiffs are aware of isolated reports in the first couple months after these policies were

issued of individuals who had been paroled into the country being targeted for expedited removal,

see, e.g., Gillman Decl., ¶¶ 6-7, Maurus Decl., ¶¶ 2, 6, Perez-Arleo Decl., ¶¶ 7-10, Torres Decl., ¶

6, but it was not until recently that enforcement efforts ramped up significantly. Around May 20,

2025, after White House deputy chief of staff Stephen Miller increased pressure on ICE to arrest

and deport more people—including setting a quota of 3,000 arrests a day, which was triple the

number of daily arrests being made8—Defendants significantly expanded their efforts to use



7
  Ted Hesson & Kristina Cooke, Trump weighs revoking legal status of Ukrainians as US steps
up deportations, Reuters (March 6, 2025), https://www.reuters.com/world/us/trump-plans-
revoke-legal-status-ukrainians-who-fled-us-sources-say-2025-03-06/ (citing “internal ICE email”
available at
https://fingfx.thomsonreuters.com/gfx/legaldocs/gkpljxxoqpb/ICE_email_Reuters.pdf).
8
  Brittany Gibson & Stef W. Knight, Scoop: Stephen Miller, Noem tell ICE to supercharge
immigrant arrests, Axios (May 28, 2025), https://www.axios.com/2025/05/28/immigration-ice-
deportations-stephen-miller.

                                                    7
     Case 1:25-cv-00872-JMC          Document 22-1         Filed 06/11/25     Page 16 of 48




expedited removal, initiating a “nationwide blitz.” Around that time, noncitizens and their

attorneys nationwide began reporting that, upon their showing up to scheduled immigration court

hearings—frequently for a routine appearance or check-in—DHS’s attorneys were asking

immigration judges to dismiss the cases against the noncitizens.9 This was in many instances done

by oral motion with little to no reasoning, and the noncitizens (and their attorneys, for those

represented) often left the courtroom thinking they were free of removal proceedings and would

be able to proceed with affirmative applications for relief outside of court; in some cases that is

precisely what the immigration judges thought, too.10 See, e.g., Olive Decl., ¶¶ 6-8 (after ordering

dismissal, Immigration Judge advised client, who is a CASA member, to apply for asylum

affirmatively with USCIS to continue his case, which becomes unavailable in expedited removal).

After the judges granted dismissal, however, and the noncitizen left the courtroom, immigration

enforcement personnel were waiting outside to arrest detain them so they could be processed for

expedited removal. See, e.g., Toczylowski Decl., ¶¶ 6, 9. In some cases, ICE arrested individuals

after their hearing even though during the hearing, DHS did not move to dismiss and the regular

removal proceedings were still active. See, e.g., Espinoza Decl., ¶¶ 6-9 (describing arrest for

expedited removal of parolee immediately following hearing where the immigration judge

“granted [the noncitizen] a continuance to obtain counsel” and “[n]o other issues were raised”).




9
 Id.
10
   Id.; see also Suzanne Gamboa, Immigration arrests in courthouses have become the new
deportation tool, stripping migrants of a legal process, NBC News (May 30, 2025),
https://www.nbcnews.com/news/latino/immigrations-arrests-ice-deportations-courthouse-legal-
process-ice-rcna209671.

                                                 8
     Case 1:25-cv-00872-JMC           Document 22-1         Filed 06/11/25     Page 17 of 48




       Noncitizens who had been paroled into the United States, including Plaintiffs’ members,

have been harmed by the “nationwide blitz.”11 See Salas Decl., ¶¶ 14-24; Escobar Decl., ¶¶ 10-18

Lawrence Decl., ¶¶ 13-19; Chua Decl., ¶ 2 (CASA member); Olive Decl., ¶ 2 (CASA member);

Torres Decl., ¶ 2 (CHIRLA member). For the reasons described above, noncitizens in this position

often did not realize they were going to be subjected to expedited removal until they were

scheduled for a Credible Fear Interview (CFI) or given an expedited removal order. See, e.g., Chua

Decl., ¶¶ 7-8 (CASA member), 10; Hirman Decl., ¶¶ 7-8; Olive Decl, ¶¶ 6-9. Regardless, they

have been jailed in immigration detention (and often moved around the country to various

detention centers over a short period of time), forced to participate in CFIs without the benefit of

counsel, and deprived of a meaningful opportunity to apply for immigration relief for which they

are eligible. See, e.g., Chua Decl., ¶¶ 14-16; Torres Decl., ¶¶ 8-12.

                                      LEGAL STANDARD

       Under 5 U.S.C. § 705, courts may “issue all necessary and appropriate process to postpone

the effective date of an agency action or to preserve status or rights pending conclusion of the

review proceedings.” The same factors for issuance of a preliminary injunction apply to issuance

of a stay pursuant to Section 705. D.C. v. U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 48 (D.D.C. 2000).

Specifically, courts review whether the plaintiff seeking a stay has shown that “four factors, taken

together, warrant relief: likely success on the merits, likely irreparable harm in the absence of

preliminary relief, a balance of the equities in its favor, and accord with the public interest.”




11
   Michael Elsen-Rooney, A Bronx high schooler showed up for a routine immigration court
date. ICE was waiting, Chalkbeat (May 26, 2025),
https://www.chalkbeat.org/newyork/2025/05/27/bronx-high-school-student-detained-by-
immigration-ice-agents/

                                                  9
     Case 1:25-cv-00872-JMC          Document 22-1         Filed 06/11/25     Page 18 of 48




Pursuing Am.’s Greatness v. Fed. Election Comm’n, 831 F.3d 500, 505 (D.C. Cir. 2016) (quoting

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008)).

       Plaintiffs have met the standard for a stay pursuant to 5 U.S.C. § 705.

                                          ARGUMENT

       Plaintiffs respectfully request that this Court preliminarily stay the January 23 Huffman

Memorandum, the February 18 ICE Directive, and the March 25 CHNV Termination Notice

insofar as they direct or authorize the application of expedited removal to individuals who have

been paroled into the country at ports of entry. First, the INA specifies only two narrow categories

of individuals who can be subjected to expedited removal, and neither category includes

individuals who have been paroled into the country. Any interpretation of the expedited removal

authority that would permit Defendants to subject parole beneficiaries to expedited removal would

violate the statute and nullify key terms of the expedited removal authority. Defendants’ policies

are therefore not in accordance with law and are acting in excess of their statutory authority.

Defendants’ policies are likewise not in accordance with their own regulations, which expressly

contemplate that an individual who can demonstrate to an immigration officer’s satisfaction “that

he or she was admitted or paroled into the United States” at a point in the past may not “be ordered

removed pursuant to [8 U.S.C. § 1225(b)(1)].” 8 C.F.R. § 235.3(b)(1)(ii)(b)(6). Second,

Defendants offer no reasoned explanation for why they may apply expedited removal to

individuals who have been paroled into the country. In fact, the purported legal bases for

Defendants’ policies proffered in the January 23 Huffman Memorandum, the February 18 ICE

Directive, and the March 25 CHNV Termination Notice are inconsistent with one another, and

Defendants neither acknowledge this inconsistency nor provide a reasoned explanation for it, nor

explain the change in policy that these documents represent. Nor have Defendants given any




                                                10
     Case 1:25-cv-00872-JMC           Document 22-1         Filed 06/11/25      Page 19 of 48




mention to, much less consideration of, the significant reliance interests at stake, nor available

alternatives. The APA does not tolerate such arbitrary and capricious agency action. In addition, as

sixteen supporting declarations illustrate, Defendants’ actions are inflicting substantial and

irreparable harm on Plaintiffs’ members and noncitizens around the country, and any hardship the

Defendants would suffer as a result of a stay is substantially outweighed by the countervailing

hardships that Plaintiffs’ members and others similarly situated are suffering through Defendants’

actions, which inflict broad and traumatic harm on the public as well.

I.     PLAINTIFFS HAVE STANDING, THIS COURT HAS JURISDICTION, AND
       DEFENDANTS’ ACTIONS ARE REVIEWABLE.

       This Court can consider Plaintiffs’ claims because Plaintiffs have standing to bring suit on

behalf of their members; their members are in the zone of interests of the INA, as are the

organizations themselves; and Congress has made Defendants’ actions reviewable.

       Jurisdictional standing. The D.C. Circuit has held explicitly that membership-based

associations like Plaintiffs have Article III standing to test the legality of policies and procedures

implementing the expedited removal statute on behalf of their members who are subject to those

policies and procedures. See Make the Rd. N.Y. v. Wolf, 962 F.3d 612, 627-28 (D.C. Cir. 2020)

(“MRNY”). Like in MRNY, each Plaintiff here “is a membership organization that advocates on

behalf of its members in immigrant communities and that includes among its members individuals

directly covered by the new expedited removal” policies. Id. at 621; see Salas Decl., ¶¶ 5-7, 14-

24; Escobar Decl., ¶¶ 1, 7-8, 10-18; Lawrence Decl., ¶¶ 1, 3-4, 13-19. Plaintiffs here likewise

present the same “recognized harm”—“depriving those individuals of the more robust procedural

protections afforded in regular removal proceedings.” 962 F.3d at 622. That harm is also imminent.

Compare id. (explaining that there is nothing “speculative about a threatened injury if the one who

makes the threat simultaneously and unequivocally states that he intends to inflict the threatened



                                                 11
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 20 of 48




harm as soon as possible and without further warning on such individuals.” (citation omitted) with,

e.g., 90 Fed. Reg. at 13620 (justifying mass revocation of CHNV parole based on DHS’s “strong

interest” in using “expedited removal proceedings to the maximum extent possible for the

[amenable] CHNV population”); January 23 Huffman Memorandum (directing DHS to “take all

steps necessary” to decide “whether to apply expedited removal” to “any alien DHS is aware of

who is [now] amenable to it”) (emphases added); February 18 ICE Directive (similar directive

regarding certain noncitizens previously paroled into the country at a port of entry by CBP).

Indeed, Defendants have already subjected members of Plaintiffs CASA and CHIRLA to expedited

removal. Salas Decl., ¶ 17; Escobar Decl., ¶ 7. Plaintiffs have constitutional standing.

       Prudential standing. Plaintiffs also meet the “not . . . especially demanding” test for

prudential standing. Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567

U.S. 209, 225 (2012). Plaintiffs’ interests here in their members avoiding summary deportation are

at the core of the zone of interests the INA protects; indeed, Congress explicitly authorized just

this type of lawsuit. See MRNY, 962 F.3d at 628 (“To sum up, [8 U.S.C. §] 1252(e)(3) expressly

provides for jurisdiction over the very type of claim that the Associations are bringing on behalf

of their individual members.”). Plaintiffs have prudential standing. See, e.g., NAACP v. Trump, 298

F. Supp 3d 209, 235 (D.D.C. 2018) (concluding organization’s members were within the zone of

interests); Hispanic Affs. Project v. Perez, 319 F.R.D. 3, 7-8 (D.D.C. 2016) (same).

       Statutory jurisdiction. Although Congress has limited federal court jurisdiction regarding

various aspects of the removal (and expedited removal) system, it “expressly preserve[d]

jurisdiction over challenges like the Associations’ claims of legal or constitutional error in the

Secretary’s rules implementing expedited removal.” MRNY, 962 F.3d at 625. Here, the challenged

actions are all written policy directives setting out guidance and procedures to implement




                                                12
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 21 of 48




expedited removal in light of the new Administration’s priorities. See January 23 Huffman

Memorandum; February 18 ICE Directive; March 25 CHNV Termination Notice, 90 Fed. Reg.

13,611.12 Jurisdiction is thus preserved under 8 U.S.C. § 1252(e)(3). Id.; accord Grace v. Barr,

965 F.3d 883, 891-96 (D.C. Cir. 2020); Kiakombua v. Wolf, 498 F. Supp. 3d 1, 30-31 (D.D.C. 2020)

(Jackson, K.B., D.J.).

       Reviewable agency action. Finally, Defendants’ three actions at issue here are reviewable

under the APA, which makes two kinds of agency action “subject to judicial review”: “[a]gency

action made reviewable by statute” and “final agency action.” 5 U.S.C. § 704. The former need

not be “final.” See Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 882 (1990) (“the ‘agency action’

in question must also be ‘final agency action’” unless “review is sought . . . pursuant to specific

authorization in the substantive statute”). Here, “section 1252(e)(3) of the INA” makes

Defendants’ written implementation of expedited removal “‘reviewable by statute’ within the

meaning of section 704 of the APA.” Las Americas Immigrant Advoc. Ctr. v. Wolf, 507 F. Supp.

3d 1, 35 (D.D.C. 2020) (Jackson, K.B., D.J.); accord Grace v. Whitaker, 344 F. Supp. 3d 96, 118

(D.D.C. 2018) (rejecting argument “that Congress limited the application of [§] 1252(e)(3) to only

claims involving legislative rules or final agency action”). Regardless, Defendants’ actions also

meet the two-part test for final agency action: legal consequences plainly flow from Defendants’

decision to put parolees through expedited removal, which likewise determines the parolees’ rights,

and none of Defendants’ actions can characterized as “tentative.” See Bennett v. Spear, 520 U.S.

154, 178 (1997).




12
  Plaintiffs also incontestably filed suit “no later than 60 days after the date” that the challenged
actions were “first implemented.” 8 U.S.C. § 1252(e)(3)(B).

                                                 13
      Case 1:25-cv-00872-JMC          Document 22-1        Filed 06/11/25      Page 22 of 48




II.    PLAINTIFFS ARE LIKELY TO SUCCEED IN PROVING THAT THE AGENCY
       ACTIONS ARE CONTRARY TO LAW AND VIOLATE THE AGENCY’S OWN
       PROCEDURES.

       Agency decisions premised on an incorrect understanding of the law cannot stand. See

Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391 (2024) (“[The APA] specifies that courts,

not agencies, will decide ‘all relevant questions of law’ arising on review of agency action—even

those involving ambiguous laws—and set aside any such action inconsistent with the law as they

interpret it.” (quoting 5 U.S.C. § 706)); accord SEC v. Chenery Corp., 318 U.S. 80, 94 (1943)

(agency action “may not stand if the agency has misconceived the law”). Here, Plaintiffs are likely

to succeed on their claim that DHS erroneously interpreted the INA in applying expedited removal

to noncitizens who were “paroled.” Because DHS premises its actions on an erroneous legal

interpretation, the APA requires that its decisions be nullified. Loper Bright, 603 U.S. at 391.

       The plain language of the expedited removal statute, 8 U.S.C. § 1225(b)(1)(A), makes clear

that noncitizens now here in the United States after being inspected and paroled are categorically

ineligible for expedited removal, regardless of whether that parole has expired or been terminated.

There are only two distinct groups of noncitizens who can be statutorily subject to expedited

removal if they are found inadmissible under 8 U.S.C. §§ 1182(a)(6)(C) or 1182(a)(7): noncitizens

who are “arriving in the United States” and certain noncitizens designated by the Secretary to be

amenable to expedited removal, who have “not been admitted or paroled into the United States.”

8 U.S.C. § 1225(b)(1)(A)(i), (iii) (emphases added). The Secretary has extended by designation

the second category to include certain noncitizens located anywhere in the country who cannot

show that they have been physically present in the United States continuously for two years. See

Notice, U.S. Dep’t of Homeland Sec., Designating Aliens for Expedited Removal, 90 Fed. Reg.

8139 (Jan. 24, 2025). Nevertheless, that does not change the fact that noncitizens who have been




                                                 14
     Case 1:25-cv-00872-JMC          Document 22-1         Filed 06/11/25     Page 23 of 48




“paroled” into the country like Plaintiffs’ members are statutorily excluded from such a so-called

“expanded expedited removal” designation under 8 U.S.C. § 1225(b)(1)(A)(iii).

       1.      The January 23 Huffman Memorandum and the March 25 CHNV Termination

Notice directly violate the plain language of the statute when they target for expanded expedited

removal “paroled” noncitizens who have been in the United States for less than two years. See Doe

v. Noem, No. 1:25-cv-10495 IT, 2025 WL 1099602, at *16 (D. Mass. Apr. 14, 2025) (“The statute

does not subject persons who were authorized to enter the United States to expedited removal,

regardless of how long they have been in the United States.”). The statute could not be clearer.

       Defendants’ purported basis for subjecting paroled individuals to expanded expedited

removal is that once an individual’s parole is ended, that person has no longer “been . . . paroled

into the United States” and can be put through expedited removal under 8 U.S.C. §

1225(b)(1)(A)(iii) if they have been here less than two years and have been found inadmissible

under the relevant provisions. January 23 Huffman Memorandum; March 25 CHNV Termination

Notice, 90 Fed. Reg. at 13,619. That interpretation defies the plain text of the provision that

protects from expanded expedited removal individuals who are in the country by virtue of having

been admitted or paroled.

       In addition to being contrary to the plain text, Defendants’ interpretation would render

meaningless the explicit limitation that Congress placed on the Executive’s authority to subject

certain people who are in the United States to expedited removal. The provision limiting expanded

expedited removal to people who have not been “paroled” would be rendered superfluous

surplusage if the Government could subject a previously “paroled” person to expanded expedited

removal by terminating their parole. Cf.Nat’l Ass’n of Mfrs. v. Dep’t of Def., 583 U.S. 109, 128-29

(2018) (“the Court rejects an interpretation of the statute that would render an entire subparagraph



                                                15
     Case 1:25-cv-00872-JMC          Document 22-1        Filed 06/11/25      Page 24 of 48




meaningless. As this Court has noted time and time again, the Court is ‘obliged to give effect, if

possible, to every word Congress used.’”) (citation omitted). This is even clearer given Defendants’

position in the February 18 ICE Directive that an expedited removal charging document itself is

sufficient to terminate parole. See February 18 ICE Directive. Defendants’ position appears to be

that Congress protected “paroled” noncitizens from expanded expedited removal unless and until

DHS decides to process such individuals for expanded expedited removal. This is not tenable under

the plain language of the statute. And adherence to the norms of statutory construction is

particularly important here given how dramatically Defendants’ reading would explode Executive

authority to subject hundreds of thousands of parole recipients to expedited removal.

       Indeed, in the context of interpreting jurisdictional statutes, the Supreme Court has

similarly rejected interpretations that would leave agencies’ compliance with the law to the

agencies themselves. See Mach Mining, LLC v. EEOC, 575 U.S. 480, 487-89 (2015); Kucana v.

Holder, 558 U.S. 233, 252-53 (2010) (collecting cases in the immigration context). See also Grace,

965 F.3d at 895 (rejecting argument that would give the executive the power to “immunize

credible-fear policies from judicial review by simply announcing them in” in forms not explicitly

listed in § 1252(e)(3)—“a result [that] would conflict with section 1252(e)(3)’s purpose.”). There

is every reason to adhere to that principle here. As the Supreme Court explained, “[Courts] need

not doubt the [agency]’s trustworthiness, or its fidelity to law, to shy away from” a statutory

interpretation that would leave the agency’s “compliance with the law . . . in [its] hands alone.”

Mach Mining, LLC, 575 U.S. at 488-89. Instead, “[courts] need only know—and know that

Congress knows—that legal lapses and violations occur, and especially so when they have no

consequence.” Id.




                                                16
     Case 1:25-cv-00872-JMC            Document 22-1        Filed 06/11/25       Page 25 of 48




       Defendants’ interpretation is further contradicted by DHS’ own regulations, which make

clear that the “has not been admitted or paroled” language of 8 U.S.C. § 1225(b)(1)(A)(iii)(II)

refers to a past event that either did or did not occur, rather than a continuing immigration status

that is maintained. Defendants’ regulations describing to whom expanded expedited removal may

be applied speak of “aliens who . . . have entered the United States without having been admitted

or paroled.” 8 C.F.R. § 235.3(b)(1)(ii) (emphasis added). In that same provision, the regulations

specify that a noncitizen who establishes that they have been present in the U.S. for longer than

two years may not be subjected to expedited removal even if that noncitizen “was not inspected

and admitted or paroled into the United States”). Id (emphasis added). Additionally, Defendants’

regulations require that a noncitizen be permitted to prove he “was . . . paroled into the United

States following inspection at a port-of-entry” before being subjected to expedited removal under

8 U.S.C. § 1225(b)(1)(A)(iii); a noncitizen can be subjected to expedited removal under that

statutory provision only if they “cannot satisfy the examining officer that he or she was lawfully

admitted or paroled.” 8 C.F.R. § 235.3(b)(6) (emphases added).13 In each of these instances, the

Department’s focus is on the manner of entry into the United States (i.e., whether the individual

was or was not inspected and admitted or paroled) rather than on the individual’s current status.

That the inquiry into whether a noncitizen has or “has not been admitted or paroled” refers to a

past event rather than a continuing status is also consistent with the Supreme Court’s observation



13
  8 C.F.R. § 235.3(b)(6) contains what appears to be an erroneous cross-reference that has been in
place since the interim final rule was published in 1997. Namely, although the text of the regulation
says it applies to “any or all aliens described in paragraph (b)(2)(ii) of this section,” it appears to
be meant to be referring to paragraph (b)(1)(ii) of this section. The reference to (b)(2)(ii) appeared
in the original Notice of Proposed Rulemaking (Inspection and Expedited Removal of Aliens, 62
Fed. Reg. 444-01, 480 (proposed Jan. 3, 1997)), and remained in place when the Interim Final
Rule was published, even though the Interim Final Rule switched the order of § 235.3(b)(1) and
(b)(2). Inspection and Expedited Removal of Aliens, 62 Fed. Reg. 10312, 10314 (interim rule
promulgated Mar. 6, 1997).

                                                  17
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 26 of 48




in Sanchez v. Mayorkas that “[l]awful status and admission . . . are distinct concepts in immigration

law,” 593 U.S. 409, 415 (2021). “Parole” can be both a manner of entry and a status, but in the

context of the full statutory expedited removal scheme and when paired with the term “admitted,”

it is clear that the text focuses on manner of entry and not maintenance of a particular admission

or parole status.

        That DHS has long (and correctly) interpreted 8 U.S.C. § 1225(b)(1)(A)(iii)(II) to pertain

to people who were not inspected and admitted or paroled but rather entered without inspection is

further confirmed by language in 8 C.F.R. § 235.3(b)(1)(ii). This regulation states that “[w]hen

[the expanded expedited removal] provisions are in effect for aliens who enter without inspection,

the burden of proof rests with the alien to affirmatively show that he or she has the required

continuous physical presence in the United States.” 8 C.F.R. § 235.3(b)(1)(ii) (emphasis added).

This regulation makes clear that once the expanded expedited removal provisions were made

effective by a designation, noncitizens in the country who entered without inspection —and not

noncitizens in the country who were admitted or paroled into the U.S. at a port of entry following

inspection—would be subject to expanded expedited removal.

        In sum, Defendants’ policies seeking to apply expedited removal to individuals who have

been paroled into the country at a port of entry are contrary to the express terms of the statute, 8

U.S.C. § 1225(b)(1)(A)(iii). They also impermissibly violate DHS’s own regulations, including

those found at 8 C.F.R. § 235.3(b)(1)(ii) and (b)(6), which affirm that an individual who can

demonstrate that he was previously paroled into the United States cannot be subjected to expedited

removal. See United States ex. rel. Accardi v. Shaughnessy, 347 U.S. 260 (1954).

        2.      The February 18 ICE directive asserts that a noncitizen who was paroled into the

country at an official port of entry and is now in the United States can be subject to expedited




                                                 18
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 27 of 48




removal “as an arriving alien” with “no time limit on the ability to process such aliens for ER.”

This, too, violates the statutory scheme Congress created for expedited removal in the INA.

       Congress, in constructing the grounds for expedited removal, drew a clear distinction

between noncitizens who are in the act or process of “arriving” and those who were already in the

country without having been “admitted” or “paroled.” 8 U.S.C. § 1225(b)(1)(A). This is consistent

with the broader shift in framework for removals and deportations that Congress adopted in the

same overhaul of the statute that created expedited removal—a shift from the question of whether

a noncitizen “had physically entered the United States” to whether the noncitizen “had been

lawfully admitted into the country by immigration authorities.” Hillel R. Smith, Cong. Rsch. Serv.,

R45314, Expedited Removal of Aliens: Legal Framework (2019), https://www.congress.gov/crs-

product/R45314.

       It is clear that “Congress’ use of a verb tense is significant in construing statutes.” United

States v. Wilson, 503 U.S. 329, 333 (1992) (collecting statutes). The statute’s use of the present

progressive tense, in specifying that expedited removal may be applied to an individual who “is

arriving in the United States,” signals an action that is temporary but currently occurring. See Al

Otro Lado v. McAleenan, 394 F. Supp. 3d 1168, 1200 (S.D. Cal. 2019) (construing “is arriving” in

8 U.S.C. § 1225(b)(1)(A)(i) and observing that “[t]he use of the present progressive, like use of

the present participle, denotes an ongoing process”); see also Cherokee Nation v. Dep’t of Interior,

Case No. 1:19-cv-02154 (TNM) 2024 WL 4286048, at *11 (D.D.C. Sept. 25, 2024) (noting that

the statutory phrase “‘are being deposited,’ (present continuous voice, passive voice) . . . suggests

that the action of depositing is ongoing”). The use of the present progressive tense to refer to the

first category of “arriving” noncitizens who may be subjected to expedited removal (i.e., those

who “[are] arriving in the United States,”) thereby focuses on people who are currently in the




                                                 19
     Case 1:25-cv-00872-JMC           Document 22-1           Filed 06/11/25    Page 28 of 48




process of arriving in the United States at a port of entry and who will no longer be arriving once

that action has ended. 8 U.S.C. § 1225(b)(1)(A)(i). The statute does not somehow refer to people

who carry with them forever an amorphous “arriving” status, long after the act of arriving is

complete.

       Noncitizens who arrived in the past in any manner—whether by presenting at a port of

entry and getting inspected and paroled or admitted into the country, or by entering without

inspection—and who have since established lives here, are no longer in the process of “arriving,”

so they cannot be subject to expedited removal on that basis. See Bollat Vasquez v. Wolf, 460 F.

Supp. 3d 99, 111 (D. Mass. 2020) (“Under the statutory language, if [noncitizen] applicants [for

admission] are apprehended while crossing the border (whether or not at a check point), they are

‘arriving’ applicants under the statute, and if apprehended at some point thereafter, they are not

‘arriving,’ but rather ‘alien[s] present in the United States who [have] not been admitted.’” (quoting

8 U.S.C. § 1225(a)(1)) (last two alterations in original)).

       The interpretation of the statute in Defendants’ agency actions as including individuals who

have been paroled into the United States as indefinitely “arriving” also effectively reads out of the

statute the protections included in 8 U.S.C. § 1225(b)(1)(A)(iii) for noncitizens who have been

paroled. If such individuals were forever subject to expedited removal because they were

perpetually “arriving,” then it would make no sense for the statute to explicitly exempt those same

individuals from being subject to expedited removal under an expanded expedited removal

designation under 8 U.S.C. § 1225(b)(1)(A)(iii); the carveout would have no effect. An

interpretation of the statute that would render provisions in the text meaningless must be rejected.

See Nat’l Ass’n of Mfrs. v. Dep’t of Def., 583 U.S. 109, 128-29 (2018); Hurry v. Fed. Deposit Ins.

Corp., 589 F.Supp.3d 100, 122-125 (D.D.C. 2022) (rejecting FDIC’s reading of a statute because




                                                 20
       Case 1:25-cv-00872-JMC        Document 22-1         Filed 06/11/25     Page 29 of 48




it was “at odds with the statutory scheme” and would have rendered a statutory deadline included

by Congress meaningless.”).

        Therefore, in each of the challenged agency actions, Defendants have incorrectly

interpreted the expedited removal statute in applying any of the provisions to parolees. Plaintiffs

are likely to succeed on their claim that Defendants’ actions violate the INA and the APA and, with

respect to the application of expanded expedited removal to paroled individuals, Defendants’ own

regulations.

III.    PLAINTIFFS ARE ALSO LIKELY TO SUCCEED IN PROVING THAT THE
        AGENCY ACTIONS ARE ARBITRARY AND CAPRICIOUS

        Because the January 23 Huffman Memorandum, the February 18 ICE Directive, and the

March 25 CHNV Termination Notice are based on patently incorrect interpretations of the

expedited removal statute, the Court need not also consider whether these agency actions are also

arbitrary and capricious under 5 U.S.C. § 706(2)(A). But Plaintiffs are likely to succeed in proving

that they are.

        Congress has mandated through the APA that when executive agencies exercise their

authority, they do so on an informed basis, ground their justifications on neutral and rational

principles, and “offer genuine justifications for important decisions.” Dep’t of Com. v. New York,

588 U.S. 752, 756 (2019); see also Motor Vehicle Mfr. Ass’n of the U.S., Inc. v. State Farm Mut.

Auto. Ins. Co., 463 U.S. 29, 48-49 (1983). Because “courts retain a role, and an important one, in

ensuring that agencies have engaged in reasoned decisionmaking,” Judulang v. Holder, 565 U.S.

42, 53 (2011), review of whether an agency’s action reflects reasoned decision-making “is to be

searching and careful,” Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971).

        To facilitate judicial review, “the most elementary precept[] of administrative law [is] an

agency has no choice but to provide a reasoned explanation for its actions.” Pol’y & Rsch., LLC v.



                                                21
     Case 1:25-cv-00872-JMC          Document 22-1         Filed 06/11/25     Page 30 of 48




U.S. Dep’t of Health & Hum. Servs., 313 F. Supp. 3d 62, 83 (D.D.C. 2018) (Jackson, K.B., D.J.).

As the Supreme Court has explained, “[t]he reasoned explanation requirement of administrative

law is meant to ensure” that agencies provide “reasons that can be scrutinized by courts and the

interested public.” Dep’t of Com., 588 U.S. 785. It is the reviewing court’s task to examine the

proffered reasons—“or, as the case may be, the absence of such reasons.” Judulang, 565 U.S. at

53. A court may not “attempt itself to make up for [any] deficiencies” in an agency’s reasons, State

Farm, 463 U.S. at 43, but “must judge the propriety of [agency] action solely by the grounds

invoked by the agency.” Pol’y & Rsch., LLC, 313 F. Supp. 3d at 72; see also SEC v. Chenery Corp.,

332 U.S. 194, 196 (1947).

       The explanations Defendants have provided in the January 23 Huffman Memorandum, the

February 18 ICE Directive, and the March 25 CHNV Termination Notice to justify applying the

expedited removal statute to individuals inspected and paroled into the United States at ports of

entry are, on their face, arbitrary and capricious and do not stand up to judicial scrutiny. The

reasoning Defendants provide in these documents is scant, if not nonexistent. The proffered legal

bases for why the agency may apply expedited removal to paroled individuals, moreover, shift

from document to document and are fundamentally inconsistent across the January 23 Huffman

Memorandum, the February 18 ICE Directive, and the March 25 CHNV Termination. And

Defendants’ reasoning is arbitrary for an independent reason: none of these policies reflect

consideration of any reasonable alternatives, reliance interests, or the impact that the application

of expedited removal to paroled individuals has on the individuals themselves, their families, their

employers, their communities, and any supporters who participated in their parole applications.

       Defendants have provided no substantive reasoning for their actions. The January 23

Huffman Memorandum, the February 18 ICE Directive, and the March 25 CHNV Termination




                                                22
     Case 1:25-cv-00872-JMC          Document 22-1        Filed 06/11/25      Page 31 of 48




Notice all fail the APA’s reasoned decisionmaking requirement: None of these policies provides

any explanation, much less a reasonable one, for the decision to allow the DHS component

agencies to apply expedited removal to individuals who have previously been paroled into the

United States. The January 23 Huffman Memorandum and February 18 ICE Directive command

DHS component agencies to apply, or to consider applying, expedited removal to certain

populations of paroled individuals; the March 25 CHNV Termination Notice justifies the decision

to precipitously strip hundreds of thousands of people of lawful parole status based on the

unexplained assertion that doing so is necessary for DHS to process such paroled individuals for

expedited removal under the statute. They contain no other content explaining why Defendants

now seek to apply expedited removal to individuals who have previously been paroled into the

United States. “One of the most basic procedural requirements of [the APA] is that an agency must

give adequate reasons for its decisions.” Encino Motor Cars, LLC v. Navarro, 579 U.S. 211, 221

(2016). When the agency has ignored the most elementary requirement of the APA, its actions are

arbitrary and capricious. Id.

       Defendants’ justifications for applying expedited removal to paroled individuals shifted

over time and are fundamentally inconsistent. When viewed side by side, it is readily apparent that

the January 23 Huffman Memorandum, the February 18 ICE Directive, and the March 25 CHNV

Termination Notice rely on different parts of the expedited removal statute and offer contradictory

explanations, without any acknowledgment, much less any effort to reconcile or otherwise explain

why the policies are fundamentally at odds with one another.

 Agency Action             Authority Relied Upon

 January 23 Huffman        8 U.S.C. § 1225(b)(1)(A)(iii)(II): expedited removal applies to any
 Memorandum                individual “present in the United States, without having been
                           admitted or paroled into the United States,” “for up to two years after
                           the [individual] arrived in the United States”


                                                23
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 32 of 48




 February 18 ICE            8 U.S.C. § 1225(b)(1)(A)(i): expedited removal applies to all
 Directive                  “paroled arriving aliens” who have been “previously released by U.S.
                            Customs and Border Protection (CBP). . .. [t]here is no time limit on
                            the ability to process [such individuals] for [expedited removal].”

 March 25 CHNV              8 U.S.C. § 1225(b)(1)(A)(iii)(II): “[e]xpedited removal is available
 Termination Notice         only when an alien has not been continuously present in the United
                            States for at least the two years preceding the date of the
                            inadmissibility determination.”

       The    March    25    CHNV Termination         Notice,   for   example,    cites   8   U.S.C.

§ 1225(b)(1)(A)(iii)(II) as support for its statement that “[e]xpedited removal is available only

when an alien has not been continuously present in the United States for at least the two years

preceding the date of the inadmissibility determination.” 90 Fed. Reg. at 13619. Indeed, this is the

justification that the Notice offers for why the Department decided to categorically terminate the

grants of parole of hundreds of thousands of CHNV parole beneficiaries: “If DHS were to allow

the CHNV parolee population to remain for the full duration of their two-year parole, DHS would

be compelled to place a greater proportion of this population in section 240 removal proceedings,”

rather than expedited removal proceedings. Id.

       The January 23 Huffman Memorandum does not itself cite a specific expedited removal

provision, but its stated purpose is to “provide[] guidance” as to “two new policies”—a DHS parole

memorandum and the Federal Register Notice “Designating Aliens for Expedited Removal,”

which was officially published on January 24, 2025. “Designating Aliens for Expedited Removal,”

90 Fed. Reg. 8139 (Jan. 24, 2025). Like the March 25 CHNV Termination Notice, the January 24,

2025 Notice also relies solely on 8 U.S.C. § 1225(b)(1)(A)(iii) as the authority for expanding the

application of expedited removal to any individual “present in the United States, without having

been admitted or paroled into the United States,” “for up to two years after the [individual] arrived

in the United States.” 90 Fed. Reg. at 8139.



                                                 24
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 33 of 48




       The February 18 ICE Directive, however—issued in between the January 23 Huffman

Memorandum and the March 25 CHNV Termination Notice—relies on the expedited removal

authority articulated at 8 U.S.C. § 1225(b)(1)(A)(i) when it instructs officers to consider for

expedited removal all “paroled arriving aliens” who have been “previously released by U.S.

Customs and Border Protection (CBP).” The Directive further instructs that officers may process

for expedited removal “any arriving alien (i.e., encountered at a port of entry who CBP determined

to be inadmissible and released,”) and that “[t]here is no time limit on the ability to process [such

individuals] for [expedited removal].”

       In other words, in the three official articulations of the agency’s reason for why it can

subject hundreds of thousands of humanitarian parole beneficiaries to expedited removal,

Defendants have relied on different statutory provisions for the expedited removal authority and

offered irreconcilable reasons for doing so. The inherent contradiction between rushing to apply

expedited removal to paroled individuals before they have been in the United States for longer

than two years, on the one hand, and declaring that paroled individuals may be processed for

expedited removal at any time, on the other, only underlines the arbitrary and capricious nature of

the agency action challenged here: “the agency has failed to provide even that minimal level of

analysis” for its own actions and its contradictory conclusions about the statutory authority for the

agency’s desired policy to apply expedited removal to paroled individuals. Encino Motorcars, 579

U.S. at 221; see also Nat’l Ass’n of Broadcasters v. F.C.C., 740 F.2d 1190, 1201 (D.C. Cir. 1984)

(“[T]he [agency] has no authority to experiment with its statutory obligations.”). To the extent that

the January 23 Huffman Memorandum, the February 18 ICE Directive, and the March 25 CHNV

Termination Notice represent changes in the agency’s policy as to why expedited removal may be

applied to parole beneficiaries, the agency has likewise failed to offer any reasoned explanation




                                                 25
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 34 of 48




for such a change. Encino Motorcars, 579 U.S. at 221 (“Agencies are free to change their existing

policies as long as they provide a reasoned explanation for the change.”); Grace, 965 F.3d at 903

(concluding that a credible fear policy was arbitrary and capricious “due to USCIS’s failure to

acknowledge and explain its departure from past practice.”).

       Where, as here, “no findings and no analysis . . . justify the choice made,” the APA “will

not permit” a court to uphold the agency’s action. Burlington Truck Lines, Inc. v. United States,

371 U.S. 156, 167 (1962); accord Judulang, 565 U.S. at 64 (“[Courts] must reverse an agency

policy when we cannot discern a reason for it,” and doing so on that basis).

       Defendants failed to consider reasonable alternatives, reliance interests, or the impact that

the agency policies would have on parole beneficiaries and their communities. In each of the three

written policy directives and guidelines implementing expedited removal, DHS failed to consider

numerous factors relevant to this exercise of the expedited removal authority that would expose

hundreds of thousands of parole beneficiaries to summary deportation from the country. At a

minimum, the January 23 Huffman Memorandum, the February 18 ICE Directive, and the March

25 CHNV Termination Notice are each devoid of even any mention, much less any analysis, of the

impact that applying expedited removal to parolees would have on parole beneficiaries who have

begun building new lives here; the reliance interests of those parole beneficiaries, their families,

their sponsors, their employers, and their communities; the humanitarian purpose of parole; the

policy reasons why DHS created these parole processes in the first place, and available alternatives.

See DHS v. Regents of the Univ. of Cal., 591 U.S. 1, 28-33 (2020); State Farm, 463 U.S. at 83.

       Indeed, the only thing DHS appears to have considered—and only then in the March 25

CHNV Termination Notice—is its clear intent to remove as many CHNV parole beneficiaries as

possible, as quickly as possible and by whatever means necessary. See 90 Fed. Reg. at 13620




                                                 26
     Case 1:25-cv-00872-JMC            Document 22-1        Filed 06/11/25       Page 35 of 48




(describing “strong interest” in using “expedited removal proceedings to the maximum extent

possible for the [amenable] CHNV population”). The expedited removal statute does permit

expedited removal proceedings, but it also expressly “limit[s] the Secretary’s authority to utilize

expedited removal only with regard to those arriving at the border or a port of entry, or those who

entered the country unlawfully and have not been present in the country long enough to warrant

consideration of any interests their residence may have created.” See Doe v. Noem, No. 1:25-cv-

10495 IT, 2025 WL 1099602, at *17 (D. Mass. Apr. 14, 2025). Defendants failed to consider the

significance of these limits when seeking to maximize the number of people who may be subject

to expedited removal. Indeed, in Grace v. Barr, the D.C. Circuit found that another policy

implementing the expedited removal statute—a policy change that required asylum officers

conducting CFIs to apply the law of the circuit where the noncitizen was located, instead of the

law most favorable to the noncitizen—was insufficiently explained (and therefore arbitrary and

capricious) because while the change furthered the goal of “ensur[ing] efficient removal of aliens

with no lawful authorization to remain in the United States,” it did not consider the “equally

important goal” of “ensuring that individuals with valid asylum claims are not returned to countries

where they could face persecution.” Grace, 965 F.3d at 902. Defendants’ policy to maximize the

application of expedited removal to paroled individuals, in contravention of the limits Congress

placed on the expedited removal authority, is not a faithful application of the statute or a reasonable

consideration of relevant factors. Cf. Kucana, 558 U.S. at 252 (“[N]o law pursues its purpose at

all costs.”).

        Already, the actions Defendants have taken to enforce expedited removal against paroled

individuals have upended lives and caused chaos in families and places of employment. See infra,




                                                  27
      Case 1:25-cv-00872-JMC           Document 22-1         Filed 06/11/25       Page 36 of 48




Section IV. At minimum, a “more detailed justification” for Defendants’ actions was required.

F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

IV.     A STAY IS NECESSARY TO STOP ONGOING AND FUTURE IRREPARABLE
        INJURY

        Plaintiffs’ members and other noncitizens around the country who were paroled into the

United States and are now being processed for expedited removal are facing ongoing harm and

will continue to face imminent and irreparable injury if Defendants’ actions are not stayed. The

speed of expedited removal “blitz” proceedings cannot be overstated here: as the name makes

clear, these proceedings move quickly, and paroled persons already in the process face the

possibility of being deported in mere days, if not hours. Declaration of A. Ashley Tabaddor

(“Tabaddor Decl.”), ¶ 11. Being put in expedited removal in lieu of immigration court proceedings

means they are not able to apply for forms of immigration relief for which they are eligible; they

are deprived of the opportunity to fight their deportation with access to counsel, due process

procedures, and judicial review; and they are at imminent risk of deportation back to countries

where they fear for their lives and the consequences that come with an expedited removal order.

On top of all this, they are detained in immigration prisons with inhumane conditions and separated

from their families and communities, which is irreparable injury on its own. See generally

Tabaddor Decl.

        Loss of opportunity to apply for relief. The rapid deportation process of expedited removal

will deprive Plaintiffs’ members and other noncitizens who were paroled into the country of the

opportunity to submit and have adjudicated claims for immigration protections that they are

entitled to, including protections that can lead to more permanent status in the United States.

        In expedited removal proceedings, noncitizens are screened through a Credible Fear

Interview for a fear that they will be tortured, killed, or persecuted if returned to their home country.



                                                   28
     Case 1:25-cv-00872-JMC           Document 22-1         Filed 06/11/25      Page 37 of 48




If (and only if) the noncitizen receives a positive CFI, he or she is diverted from expedited removal

proceedings and placed in regular removal proceedings under 8 U.S.C. § 1229a. It is only then, in

regular removal proceedings, that a noncitizen may pursue affirmative immigration relief, such as

asylum or a family-based visa petition. The credible fear process therefore provides no meaningful

alternative to the opportunity to file applications for relief and present those claims in immigration

court proceedings, even for individuals who already had applications for immigration relief

outstanding with USCIS. The credible fear screening process, moreover, lacks meaningful

procedures and has been long-documented to be badly flawed, resulting in the removal of people

to dangerous circumstances abroad. See Freire Decl., ¶ 9 (Because ICE moved to sever the

immigration proceedings of client E.F.S. from those of his wife and 8-year-old son and dismiss his

case and process him for expedited removal, E.F.S., who was finalizing an asylum application

when he appeared for court, “will now not be able to present his asylum claim unless immigration

officials decide during his CFI that he has established a credible fear of persecution.”). See also

Lawrence Decl., ¶ 16; Olive Decl., ¶¶ 5-8 (client who was paroled into the country and filed an

asylum application before their immigration court hearing is now subject to expedited removal);

Espinoza Decl., ¶¶ 4, 6-9 (same); Hirman Decl., ¶¶ 6-8 (same); Chua Decl., ¶¶ 3-4 (same).

       Other avenues for immigration benefits and relief are foreclosed in expedited removal,

including forms of relief that could lead to more permanent protections and status in the United

States. In section 240 proceedings, noncitizens who are prima facie eligible for collateral relief

(that is, relief from removal that can be granted not by an immigration court but by another entity

like USCIS) such as adjustment of status through a U.S. citizen immediate relative, diversity visa,

or certain employment-based visas; Temporary Protected Status (“TPS”); or Special Immigrant

Juvenile Status (“SIJS”) can request that the immigration judge allow them to pursue those




                                                 29
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 38 of 48




applications. Tabaddor Decl., ¶ 9 The immigration judge has various options to do so, including

granting a continuance, administratively closing proceedings, or placing the case on the status

docket14 to provide USCIS with time to adjudicate the collateral relief, or terminating proceedings

altogether. Id. See also Montoya Decl., ¶¶ 31-33 (describing importance of these options for client

who is prima facie eligible for adjustment both under the Cuban Adjustment Act and through his

marriage to a U.S. citizen). Immigration judges frequently use these options to permit noncitizens

to obtain supporting documents necessary for their collateral relief and avoid premature

adjudication in court before those processes could be completed outside of court, or to otherwise

manage their dockets to allow noncitizens to secure relief for which they are eligible under the

law. Id. at ¶¶ 9-10. In expedited removal proceedings, all these options are foreclosed. Id. at ¶ 16.

Instead, noncitizens who are eligible for green cards or other collateral relief are forced through a

swift, summary deportation process without due process protections or an independent arbiter

separate from the agency actively pursuing their removal. Id. at ¶ 17; Gillman Decl., ¶ 12 ¶ 12

(client’s removal through expedited removal “would have vitiated his right to continue pursuing

his application for adjustment of status under the [Cuban Adjustment Act].”).

       Noncitizens who were paroled into the United States but arrested and detained for

expedited removal in the last few weeks have already reported that their ability to pursue

applications for adjustment of status and SIJS classification have been seriously jeopardized as a



14
  U.S. Dep’t of Justice, EOIR, Memorandum from Director James R. McHenry III re use of status
dockets, PM 19-13, at 1 (Aug. 16, 2019), https://www.justice.gov/eoir/page/file/1196336/dl
(explaining that the status docket can be used for cases where “an immigration judge is required
to continue the case . . . in order to await the adjudication of an application or petition by
[USCIS]”); see also U.S. Dep’t of Justice, EOIR, Memorandum from Acting Director Sirce E.
Owen re reinstatement of Memorandum 19-13, PM 25-27 (Mar. 21, 2025), https://iptp-
production.s3.amazonaws.com/media/documents/2025.03.21_EOIR_25-
27_Cancellation_of_DM_23-01_and_Reinstatement_of_PM_19-13.pdf.


                                                 30
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 39 of 48




result. For example, M.A.R., a national of Cuba, was granted parole into the United States in March

2024 and is married to a U.S. citizen. Montoya Decl., ¶¶ 17, 19. He is also prima facie eligible for

adjustment of status under the Cuban Adjustment Act as a result of his parole into the country more

than one year ago, and he has already filed an application for adjustment. Id. at ¶¶ 19-20. However,

on May 28, 2025, M.A.R. was unexpectedly arrested by ICE after attending his first scheduled

master calendar hearing in Santa Ana and is being processed for expedited removal. Id. at ¶¶ 21-

27. In expedited removal proceedings, M.A.R. will lose his opportunity to pursue adjustment of

status, despite the fact that he has already completed and submitted his application. Id. at ¶¶ 31-

33. He could be at risk of being quickly removed from the country, separated from his wife, and

sent back to Cuba, where he fears punishment from the Cuban government for his political views.

Id. at ¶ 29. See also Gillman Decl., ¶¶ 4, 11 (“Immigration Judge stated that if J.M.A. had a pending

application to adjust status under the [Cuban Adjustment Act], he should not have been put into

expedited removal proceedings . . . and the DHS attorney concurred”). Similarly, individuals who

have been granted parole but are now subject to expedited removal stand to lose the opportunity

to apply for a green card through U.S. citizen immediate relatives, Torres Decl., ¶ 4, or to secure

Special Immigrant Juvenile Status classification and eventually lawful permanent resident status,

Chua Decl., ¶¶ 6, 19 (describing CASA member who is prima facie eligible for SIJS relief), to

name a few.

       Lack of meaningful process. The expedited removal process notoriously deprives

noncitizens of their due process rights.15 As an initial matter, DHS does not give noncitizens put



15
   See, e.g., U.S. Comm’n on Int’l Religious Freedom, Report on Asylum Seekers in Expedited
Removal: Volume I: Findings & Recommendations 4, 10 (2005), https://bit.ly/1GkjQfK; U.S.
Comm’n on Int’l Religious Freedom, Barriers to Protection: The Treatment of Asylum Seekers in
Expedited Removal (2016), https://bit.ly/2uydMQ8; U.S. Comm’n on Int’l Religious Freedom,



                                                 31
     Case 1:25-cv-00872-JMC            Document 22-1         Filed 06/11/25      Page 40 of 48




through expedited removal a meaningful opportunity to contest the statutory and regulatory

requirements for expedited removal, including inadmissibility and whether they have been

admitted or paroled into the country. Unlike in regular removal proceedings, they are not provided

with time and means to prepare evidence or the opportunity to review DHS’s evidence so they can

fight their removal, and they are often not given time to obtain or consult with counsel. Clients

who are not fluent in English have been forced to sign expedited removal forms in English without

clearly understanding them. Espinoza Decl., ¶ 8. What is more, noncitizens have no right to judicial

review of an expedited removal order, and there are certain jurisdictional bars that limit their ability

to bring other litigation to challenge the use of expedited removal against them.

       Attorneys around the country have documented recently that often their clients, who have

been paroled into the country, are not even told that they are being processed for expedited

removal, let alone given an opportunity to contest it. For example, one Immigration Judge who

granted DHS’s request to dismiss the proceedings of a noncitizen who had been paroled into the

U.S. advised the noncitizen and CASA member, E.M.P., during the hearing to apply for asylum

affirmatively with USCIS if he wanted to continue his asylum claim. Olive Decl., ¶ 6. It was not

clear to E.M.P. that dismissal would lead to his being placed in expedited removal, and it seemed

to E.M.P.’s attorney that even the IJ was not aware of the purpose of dismissal. Id. at ¶¶ 6-8. E.M.P.

has been in detention since that hearing on May 21, and he has yet to be notified that he is being

processed for expedited removal, despite his attorney getting a message from a Deportation Officer

that E.M.P. would be receiving a CFI. Id. at ¶ 9. See also Hirman Decl., ¶ 10; Montoya Decl., ¶¶

8-10, 23-26; Chua Decl., ¶¶ 7-8, 10.




Barriers to Protection as of 2024: Updated Recommendations on Asylum Seekers in Expedited
Removal (2025), http://bit.ly/4kZ3EYv.

                                                  32
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 41 of 48




       For those with fear-based asylum and Convention Against Torture claims, the credible fear

screenings that exist in the expedited removal process also lack critical procedural safeguards.

They depend on case referrals by enforcement personnel to asylum officers, but studies have

documented a failure of enforcement officers to do so.16 This means that asylum seekers have been

removed without any opportunity to speak with an asylum officer or apply for asylum. See, e.g.,

Tanigawa-Lau Decl., ¶ 8 (client fears that “the system would not protect him even if he did have a

legitimate asylum claim.”) Additionally, even when they are referred for a credible fear interview,

there is no right to counsel during the process and, if the noncitizen has counsel, the attorney is

generally not permitted to speak on the noncitizen’s behalf during the interview. Noncitizens are

also detained during the course of expedited removal proceedings, often in immigration jails far

from their attorneys, family members, and communities, so there are significant barriers to

consulting with counsel, gathering relevant documents, and presenting evidence. Tabaddor Decl.,

¶¶ 19-21. See also Chua Decl., ¶ 14 (describing the immense difficulty of discerning where client

was being detained and securing an attorney call with him); Tanigawa-Lau Decl., ¶¶ 4-5, 10

(same); Torres Decl., ¶ 12 (“The dismissal has deprived E.I.R.M. [a CHIRLA member] of his right

to have his meritorious asylum claim adjudicated in the immigration court. The limited rights and

lack of meaningful process provided in the credible fear process, including barriers to accessing

counsel and evidence since he is detained, are inadequate to protect E.I.R.M.'s legitimate

interests.”); Olive Decl., ¶ 10 (“After his last hearing, E.M.P. should have been able to return home

and gather evidence in support of his claim with the help of his community. Instead, he is now

detained in a location far away, unable to regularly communicate with his attorney and loved ones.



16
   U.S. Comm’n on Int’l Religious Freedom, Report on Asylum Seekers in Expedited Removal:
Volume I: Findings & Recommendations 4, 10 (2005), https://bit.ly/1GkjQfK; Human Rights
Watch,“You Don’t Have Rights Here” (Oct. 16, 2014), https://bit.ly/1GocBhZ.

                                                 33
     Case 1:25-cv-00872-JMC            Document 22-1        Filed 06/11/25       Page 42 of 48




E.M.P. was actively pursuing his asylum claim when that process was abruptly taken from him.

Forcing him into the credible fear interview (CFI) process is not an adequate substitute, as it offers

substantially fewer legal protections.”); Espinoza Decl., ¶ 18 (“Relocating [A.A.A.] to

Oklahoma—hundreds of miles from his pro bono counsel, community ties, and evidence—has

effectively deprived him of meaningful access to representation.”); Hirman Decl., ¶ 13 (“R.J.L.B.

will not be able to meaningfully fight for his asylum claim or any other claims for relief if he is

forced to do so through the expedited removal process and while detained. He will lack consistent

access to counsel and other resources that will allow him to strengthen his case, which means that

the merits of his legitimate claims of fear will not be assessed fully.”); Perez-Arleo Decl., ¶ 12 (“In

removal proceedings, G.C.M. could present expert testimony, and he would have time to obtain

evidence. He also would have been able to prepare his claim with his family and counsel, instead

of being detained, which creates significant challenges for communication, access to counsel and

other resources.”).

       Consequences of removal. For many individuals paroled into the country, including

Plaintiffs’ members, removal to their home countries will almost certainly result in a return to

persecution or even death. See, e.g., Escobar Decl., ¶¶ 14-18; Lawrence Decl., ¶¶ 17, 22; Freire

Decl., ¶ 9 (client E.F.S., if deported back to Honduras, “risks being tortured or killed by gang

members who extorted, attacked, and threatened to kill him and his family.”); Hirman Decl., ¶ 3

(client R.J.L.B. is a Venezuelan military officer in possession of highly classified information who

is in the process of defecting, so if he is deported back to Venezuela, “he will be killed at the very

least for deserting.”); Torres Decl., ¶ 12 (client E.I.R.M. “received various credible death threats

from a Mexican cartel that has been designated a Foreign Terrorist Organization group and a

Specially Designated Global Terrorist group by the current administration” and would face harm




                                                  34
     Case 1:25-cv-00872-JMC           Document 22-1         Filed 06/11/25      Page 43 of 48




if deported back to Mexico). See Al-Marri v. Bush, No. Civ.A.04-2035 (GK), 2005 WL 774843, at

*4 (D.D.C. Apr. 4, 2005) (“the possibility of transfer to a country where [Petitioner] might be

tortured or indefinitely confined . . . undeniably would constitute irreparable harm.”).

       Additionally, noncitizens issued expedited removal orders face serious consequences

beyond removal itself, including a five-year bar on admission to the United States unless they are

granted a discretionary waiver. 8 U.S.C. § 1182(a)(9)(A)(i); 8 C.F.R. § 212.2. Noncitizens issued

expedited removal orders after having been found inadmissible based on misrepresentation are

subject to a lifetime bar on admission to the United States unless they are granted a discretionary

exception or waiver.

       Detention and family separation. Finally, Plaintiffs’ members and other noncitizens who

were paroled into the country and are now facing expedited removal are being separated from their

families—including in physically violent arrests—and jailed in overcrowded, traumatizing

immigration detention centers. See Freire Decl., ¶ 11 (after client E.F.S. was “arrested and pulled

away from them into ICE’s basement office for processing,” his wife and son were “terrified,

confused and could barely speak,” “in a state of shock”); Torres Decl., ¶ 10. For example, attorneys

report that their clients are being detained in overcrowded rooms that “forc[e] some detainees to

sleep on the floor” and “inflict[] severe psychological distress.” Espinoza Decl., ¶¶ 14, 20; see also

Torres Decl., ¶ 10 (“[my client’s] mental state has significantly declined knowing that he is being

detained for an unspecified amount of time, and he struggles to understand why”); Maurus Decl.,

¶ 16 (describing the significant emotional distress caused by the government’s attempt to process

client for expedited removal). Others have clients whose clients have serious medical conditions

and have not been able to access medication or treatment while in detention. Chua Decl., ¶¶ 11,

20-21 (Client D.L.C., a CASA member, has been suffering from serious, chronic health issues and




                                                 35
     Case 1:25-cv-00872-JMC           Document 22-1         Filed 06/11/25      Page 44 of 48




was in the process of seeking specialized medical care to diagnose and treat him when he was

detained, so he is likely to miss the critical appointments he has scheduled, and his health will

deteriorate); Olive Decl., ¶ 10 (client who is HIV+ went days without his life-saving medication

because of his detention and his mental health is deteriorating rapidly as he “is debilitated by

intrusive thoughts and fears about being returned to Venezuela at a moment’s notice.”).

       Each of these harms on its own represents a shocking betrayal of noncitizens who followed

lawful pathways to come to the United States, build a chapter of their life here, contribute to their

families and communities, and apply for relief for which they are legally eligible. See Salas Decl.,

¶ 24; Escobar Decl., ¶¶ 18-19; Lawrence Decl., ¶ 21; Espinoza Decl., ¶ 17 (“ICE’s sudden

detention and out-of-state transfer, undertaken without notice to counsel or a pending motion

before the Court, have . . . undermined his faith in the integrity of these proceedings.”); Olive

Decl., ¶ 11 (“[My client] now faces the asylum process with greater fear and uncertainty, knowing

that the system meant to protect him can change course without warning. This disruption has not

only undermined his legal rights but has also deepened his trauma, as he lives with the constant

threat that the rules may once again shift beneath him.”). Together, they paint a clear picture of the

layers of “certain and great” actual injury inflicted by expedited removal. Shvartser v. Lekser, 308

F. Supp. 3d 260, 267 (D.D.C. 2018). Independently and collectively, they clearly amount to

imminent “irreparable harm for which there is no adequate remedy at law.” Id.

V.     THE BALANCE OF EQUITIES AND THE PUBLIC INTEREST STRONGLY
       FAVOR PLAINTIFFS

       The balance of equities and the public interest, which merge here, likewise support

Plaintiffs’ request for a stay. See Winter, 555 U.S. at 20; Nken v. Holder, 556 U.S. 418, 435 (2009).

Defendants’ hardship, if any, is substantially outweighed by the countervailing hardships Plaintiffs




                                                 36
     Case 1:25-cv-00872-JMC           Document 22-1         Filed 06/11/25      Page 45 of 48




and others similarly situated will suffer through Defendants’ actions, which inflict broad and deep

harm to the public as well.

       As set out above, Plaintiffs’ members and others like them are irreparably injured by

Defendants’ unlawful actions, but Defendants can point to no remotely comparable injury to the

public by a stay of the January 23 Huffman Memorandum, the February 18 ICE Directive, and the

March 25 CHNV Termination Notice insofar as these policies seek to subject paroled individuals

to expedited removal. Ordinary removal proceedings remain available for the government to

pursue, consistent with Congressional intent and design. And many paroled individuals have

pending applications or are otherwise eligible for affirmative relief, including asylum, SIJS, TPS,

and adjustment of status, also consistent with Congressional intent and design, and if they are

successful in their applications, need not be subject to removal at all. See, e.g., Tabaddor Decl., ¶¶

9-10 (immigration court cases are often continued to avoid premature adjudication before

individuals could seek other legal status outside of court). Defendants’ interest in subjecting

paroled individuals to expedited removal, thereby preventing them from seeking alternate and

longer-term lawful statuses for which they are eligible, is contrary to Congressional intent and does

not serve the public interest. See Shawnee Tribe v. Mnuchin, 984 F.3d 94, 102 (D.C. Cir. 2021)

(“[T]here is generally no public interest in the perpetuation of unlawful agency action.” (internal

quotation marks and citation omitted)).

       In contrast, the public has a strong interest in parole beneficiaries not being unlawfully

subjected to expedited removal proceedings and probable summary deportation, because “the

public has an interest in ‘preventing [noncitizens] from being wrongfully removed, particularly to

countries where they are likely to face substantial harm.’” A.B.-B. v. Morgan, 548 F. Supp. 3d 209,

222 (D.D.C. 2020) (quoting Nken v. Holder, 556 U.S. 418, 436 (2009)); see also Tabaddor Decl.,




                                                 37
     Case 1:25-cv-00872-JMC            Document 22-1        Filed 06/11/25       Page 46 of 48




¶ 17 (describing how expedited removal does not provide the same protections as section 240

proceedings and has a negative impact on a noncitizen’s ability to make their case). Additionally,

the public has a strong interest in ensuring public safety, which is harmed if noncitizens are hesitant

to go to courthouses or approach law enforcement out of fear of immigration enforcement.17 See

Montoya Decl., ¶ 34 (describing how the new practice of arresting parolees in or near immigration

courts “has eroded [clients’] trust in the legal system”). Parole beneficiaries have, moreover,

strengthened family unity and promoted economic growth by filling crucial labor shortages and

dampening inflation.18 The public interest is not served if parole beneficiaries who have lawfully

come to the United States are abruptly torn from their families and employment and prevented

from contributing their time, energy, and effort to their local communities.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court issue a stay of the

January 23 Huffman Memorandum, February 18 ICE Directive, and March 25 CHNV Termination

Notice insofar as they subject individuals who have previously been granted parole at ports of

entry to expedited removal.




17
       The    Sentencing      Project,   Immigration     and     Public    Safety     (2017),
https://www.sentencingproject.org/app/uploads/2022/10/Immigration-and-Public-Safety.pdf;
Ceres Policy Research, The Chilling Effect of ICE Courthouse Arrests (Oct. 2019),
https://www.immigrantdefenseproject.org/wp-
content/uploads/ice.report.exec_summ.5nov2019.pdf; ACLU, Freezing Out Justice: How
Immigration Arrests at Courthouses are Undermining the Justice System (2018),
https://www.aclu.org/wp-content/uploads/publications/rep18-icecourthouse-combined-rel01.pdf.
18
   See FWD.us, Industries with Critical Labor Shortages Added 1.1 Million Workers Through
Immigration Parole (Jan. 4, 2024), www.fwd.us/news/immigration-labor-shortages.

                                                  38
   Case 1:25-cv-00872-JMC   Document 22-1     Filed 06/11/25    Page 47 of 48




Dated: June 11, 2025             Respectfully submitted,

                                 /s/ Esther H. Sung
                                 Esther H. Sung (CA00132)
                                 Karen C. Tumlin (CA00129)
                                 Hillary Li (GA0052)
                                 JUSTICE ACTION CENTER
                                 P.O. Box 27280
                                 Los Angeles, CA 90027
                                 Telephone: (323) 450-7272
                                 esther.sung@justiceactioncenter.org
                                 karen.tumlin@justiceactioncenter.org
                                 hillary.li@justiceactioncenter.org

                                 Nicholas Katz, Esq. (pro hac vice)
                                 CASA, INC.
                                 8151 15th Avenue
                                 Hyattsville, MD 20783
                                 Telephone: (240) 491-5743
                                 nkatz@wearecasa.org

                                 Carl Bergquist (pro hac vice)
                                 COALITION FOR HUMANE IMMIGRANT RIGHTS
                                 2533 West 3rd St, Suite 101
                                 Los Angeles, CA 90057
                                 Telephone: (310) 279-6025
                                 cbergquist@chirla.org

                                 Attorneys for Plaintiffs




                                   39
     Case 1:25-cv-00872-JMC           Document 22-1        Filed 06/11/25      Page 48 of 48




                                 CERTIFICATE OF SERVICE
       I hereby certify on June 11, 2025, I electronically filed the foregoing with the Clerk of the

Court for the United States District court for the District of Columbia by using the CM/ECF

system. I certify that all participants in the case are registered CM/ECF users and that service

will be accomplished by the CM/ECF filing system.

                                              /s/ Esther H. Sung
                                              Esther H. Sung (CA00132)
                                              JUSTICE ACTION CENTER
                                              P.O. Box 27280
                                              Los Angeles, CA 90027
                                              Telephone: (323) 450-7272
                                              esther.sung@justiceactioncenter.org




                                                40
